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                                              Nov 18, 2021
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                                         EASTERN DISTRICT OF CALIFORNIA




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                       /s/ N. Cannarozzi



   No process necessary.
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